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B O I E S




                   16                 UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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                   18 BROIDY CAPITAL MANAGEMENT                   Case No. 2:18-CV-02421-JFW-(Ex)
                      LLC, ELLIOTT BROIDY, and ROBIN
                   19 ROSENZWEIG,                                 The Honorable John F. Walter
                   20              Plaintiffs,                    DECLARATION OF LEAD TRIAL
                                                                  COUNSEL RE: COMPLIANCE
                   21        v.                                   WITH LOCAL RULES
                                                                  GOVERNING ELECTRONIC
                   22 STATE OF QATAR, STONINGTON                  FILING
                      STRATEGIES LLC, NICOLAS D.
                   23 MUZIN, and DOES 1-10,
                   24              Defendants.
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                                                                                      Case No. 2:18-CV-02421
                            DECLARATION OF LEAD TRIAL COUNSEL RE: COMPLIANCE WITH LOCAL RULES GOVERNING
                                                                                     ELECTRONIC SERVICE
                  Case 2:18-cv-02421-JFW-E Document 36 Filed 04/04/18 Page 2 of 3 Page ID #:404




                    1                        DECLARATION OF LEE WOLOSKY
                    2         I, Lee Wolosky, hereby declare as follows:
                    3         1.    I am a Partner at the law firm of Boies Schiller Flexner LLP. I
                    4 represent the Plaintiffs in this action.
                    5         2.    I am Lead Trial Counsel for Plaintiffs in this case.
                    6         3.    I am registered as an ECF user in the Central District of California and
                    7 my email address of record is lwolosky@bsfllp.com
L L P




                    8         4.    I consent to electronic service and receipt of filed documents by
F L E X N E R




                    9 electronic means.
                   10
                   11 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is
S C H I L L E R




                   12 true and correct.
                   13
                   14 Dated: April 4, 2018
                   15
B O I E S




                                                                            __/s/ Lee S. Wolosky_______
                   16                                                       Lee Wolosky
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                                                                                       Case No. 2:18-CV-02421
                             DECLARATION OF LEAD TRIAL COUNSEL RE: COMPLIANCE WITH LOCAL RULES GOVERNING
                                                                                      ELECTRONIC SERVICE
                  Case 2:18-cv-02421-JFW-E Document 36 Filed 04/04/18 Page 3 of 3 Page ID #:405




                    1                           CERTIFICATE OF SERVICE
                    2        I hereby certify that on April 4, 2016, the foregoing Declaration of Lead
                    3 Trial Counsel re: Compliance with Local Rules Governing Electronic Filing
                    4 was filed electronically with the Court using the CM/ECF system. Participants in
                    5 the case who are registered CM/ECF users will be served by the CM/ECF system.
                    6
                    7 Dated: April 4, 2018
L L P




                    8
                                                                          __/s/ Lee S. Wolosky_______
F L E X N E R




                    9                                                     Lee Wolosky
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S C H I L L E R




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B O I E S




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                            DECLARATION OF LEAD TRIAL COUNSEL RE: COMPLIANCE WITH LOCAL RULES GOVERNING
                                                                                     ELECTRONIC SERVICE
